
41 So. 3d 367 (2010)
Larry James BARBER, Petitioner,
v.
FLORIDA PAROLE COMMISSION and Walter A. McNeil, Secretary, Florida Department of Corrections, Respondents.
No. 1D10-1251.
District Court of Appeal of Florida, First District.
July 23, 2010.
Larry James Barber, pro se, Petitioner.
Sarah J. Rumph, General Counsel, Florida Parole Commission, and Anthony Andrews, Assistant General Counsel, Tallahassee, for Respondents.
PER CURIAM.
The petition for writ of mandamus is granted. The Circuit Court for Leon County is directed to enter a final order in Barber v. Florida Parole Comm'n, case number 2009-CA-002273, within a reasonable time, not to exceed 30 days from the date of this opinion.
PETITION GRANTED.
WOLF, KAHN, and VAN NORTWICK, JJ., concur.
